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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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MARJANA SEKOSAN,
Plaintiff, 19¢ev11313 (DLC}
-Vv- ORDER
A BRONX WOMEN’S MEDICAL PAVILION,
P.C., et al.,
Defendants.
Oe .

DENISE COTE, District Judge:

On September 28, 2021, this case was placed on the trial
ready calendar for February 2022. Because of the COVID-19
pandemic, the Southern District of New York has reconfigured
courtrooms and centralized scheduling for jury trials. Any jury
trial will be conducted in full compliance with the safety
procedures implemented in this district. In order to comply
with those safety procedures, jury trials will require complex
planning and coordination. It is hereby

ORDERED that the parties shall consult and advise the Court
by November 4, 2021 whether, should this case proceed to trial,
all parties consent to a bench trial before this Court. Should
there be a division of views among the parties, no one shall on
any account advise the Court which party or parties has elected

to proceed to trial before a jury.

 
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Should the parties decide to proceed to trial before a
jury, this Court will advise the Clerk of Court that this case
is ready for trial during the period February 21, 2022 to March
11, 2022. The Court will attempt to give the parties as much
notice as possible of the date the jury trial will begin. The
parties must be prepared to proceed to trial before a jury as
soon aS a jury can be impaneled in their case.

IT IS FURTHER ORDERED that the parties shall consult and
advise the Court by November 4, 2021 whether all parties consent
to have this case proceed to trial before a magistrate judge
rather than before this Court. Should the parties elect to
proceed before a magistrate judge, they should complete the
attached Notice, Consent, and Reference of a Civil Action to a
Magistrate Judge and submit it to the Clerk of Court. Should
there be a division of views among the parties, no one shall on
any account advise the Court which party or parties were willing
to proceed to trial before a magistrate judge. If all parties
consent to trial before the Magistrate Judge, that trial may be
conducted at the parties’ election either as a jury trial or a
bench trial.

IT IS FURTHER ORDERED that, should the parties elect to

proceed to trial before a jury (whether before this Court or a

 
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magistrate judge) they must advise the Court by November 4, 2021
of the following:

1) The number of days they need, collectively, for the
presentation of evidence; and

2) The number of individuals who will be seated at the
counsel table, and the names of each of them.

IT IS FURTHER ORDERED that, should the parties consent toa
bench trial before this Court, they will consult and advise the
Court by November 4, 2021, of three Mondays during the period
February 21, 2022 to March 11, 2022 when they are prepared to
begin that trial. The Court will attempt to accommodate the
parties’ choice of dates and give them notice by December 10,
2021 of the date of the trial. The Court will also schedule a
conference with the parties to discuss how much of the bench
trial may proceed remotely.

Dated: New York, New York
October 12, 2021

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DENISE COTE
United States District Judge

 
